        Case 2:14-cr-00200-RAJ          Document 240    Filed 07/20/15    Page 1 of 1



 1                                                               Hon. Richard A. Jones
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 6                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
 7                                AT SEATTLE
 8
     UNITED STATES OF AMERICA,
 9                                                  No. CR14-200RAJ
                           Plaintiff,
10
            v.                                      ORDER GRANTING MOTION
11                                                  TO WITHDRAW AS
     LEAK SRENG NGOR,                               ATTORNEY OF RECORD
12
                           Defendant.
13
            THIS MATTER having come before the court upon motion of the defendant,
14
     LEAK SRENG NGOR, by and through his counsel of record, Michael E. Schwartz;
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            AND THIS COURT having reviewed the motion of defendant, the
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     declaration of counsel, the records and files herein, and being otherwise fully
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     apprised of the circumstances does hereby
18
            ORDER that attorney Michael Schwartz is allowed to withdraw as attorney of
19
     record upon appointment of successor counsel by the Criminal Justice
20
     Administration panel.
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            DATED this 20th day of July, 2015.
22

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24
                                                       A
                                                       The Honorable Richard A. Jones
                                                       United States District Judge
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      ORDER - 1
